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 8                                  UNITED STATES DISTRICT COURT
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                                   EASTERN DISTRICT OF CALIFORNIA
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                                               FRESNO DIVISION
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      GERALD CARLIN, JOHN RAHM, PAUL
13    ROZWADOWSKI and DIANA WOLFE,                             Case No. 1:09-cv-00430-AWI-EPG
      individually and on behalf of themselves and all
14    others similarly situated,
                                                               CLASS ACTION
                                       Plaintiffs,
15
      v.
                                                               ORDER GRANTING PLAINTIFFS’
16                                                             REQUEST TO SEAL DOCUMENT
      DAIRYAMERICA, INC., and CALIFORNIA
17    DAIRIES, INC.                                            (Doc. 301)
                               Defendants
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      [1:09-cv-00430-AWI-EPG] ORDER GRANTING PLAINTIFFS’ REQUEST TO SEAL DOCUMENT
     Case 1:09-cv-00430-AWI-EPG Document 304 Filed 05/13/16 Page 2 of 2



 1              IT IS HEREBY ORDERED:

 2              This matter comes before the Court on the Plaintiffs’ Request to Seal Document

 3    (“Request”) pursuant to Local Rule 141. (Doc. 301). Upon consideration of the Request, the

 4    papers submitted in support thereto, and good cause appearing, the Request is GRANTED.

 5    Accordingly, Exhibit 1 attached to Attachment A of the Joint Statement of Discovery Dispute

 6    (Doc. 300-1) shall be sealed. The Court has forwarded the document to be sealed to the Clerk’s

 7    Office.

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      IT IS SO ORDERED.
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10        Dated:     May 13, 2016                                    /s/
                                                             UNITED STATES MAGISTRATE JUDGE
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      [1:09-cv-00430-AWI-EPG] ORDER GRANTING PLAINTIFFS’ REQUEST TO SEAL DOCUMENT                 1
